    Case 18-33363          Doc 23     Filed 12/28/18 Entered 12/28/18 23:49:15                    Desc Imaged
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                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MINNESOTA



                                                            Case No.: 18−33363 − WJF
                                                            Chapter: 7

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   Peoples Electric Co. Inc.
   aka Peoples Contractors, aka Peoples
   Electrical Contractors, aka System One
   Control, aka Peoples Communication
   Systems

   277 East Fillmore Avenue
   Saint Paul, MN 55107

   Social security/Taxpayer ID/Employer
   ID/Other Nos.: 41−0699224

                                            NOTICE TO FILE CLAIMS


Payment of a dividend appears possible in this case. The previous notice stated that no claims may be filed.
Accordingly, pursuant to Bankruptcy Rule 3002(c)(5), creditors are hereby notified that proofs of claim must be filed
by 4/1/19 , or, for governmental units, within 180 days from the date of the Order for Relief or 4/1/19 , whichever is
later. Proofs of claim can be filed electronically on the court's website: www.mnb.uscourts.gov . No login or
password is required. Alternatively, a Proof of Claim form (Official Form 410) can be obtained at the same website
or at any bankruptcy clerk's office.


Dated: 12/26/18

                                                            Lori Vosejpka
                                                            Clerk, U.S. Bankruptcy Court
                                                            200 Warren E Burger Federal Building and
                                                            US Courthouse
                                                            316 N Robert St
                                                            St Paul, MN 55101

                                                            BY: admin
                                                            Deputy Clerk

mnbflclm 10/14
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                                       United States Bankruptcy Court
                                           District of Minnesota
In re:                                                                                  Case No. 18-33363-WJF
Peoples Electric Co. Inc.                                                               Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
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                               Form ID: mnbflclm            Total Noticed: 243


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 28, 2018.
db            #+Peoples Electric Co. Inc.,    277 East Fillmore Avenue,      Saint Paul, MN 55107-1403
intp           +Anchor Bank, N.A., a division of Old National Bank,       c/o Joshua Christensen,
                 14985 60TH STREET,    STILLWATER, MN 55082-6696
intp           +Electrical Workers Local No. 292 Defined Contribut,       c/o Kutak Rock LLP,
                 60 South Sixth Street,    Suite 3400,    Minneapolis, MN 55402-4018
intp           +Electrical Workers Local No. 292 Pension Plan,      c/o Kutak Rock LLP,     60 South Sixth Street,
                 Suite 3400,    Minneapolis, MN 55402-4018
intp           +Electrical Workers Local No. 292 Supplemental Unem,       c/o Kutak Rock LLP,
                 60 South Sixth Street,    Suite 3400,    Minneapolis, MN 55402-4018
intp           +Electrical Workers Local No. 292 Vacation and Holi,       c/o Kutak Rock LLP,
                 60 South Sixth Street,    Suite 3400,    Minneapolis, MN 55402-4018
intp           +Ford Motor Credit Company LLC,     c/o Stewart, Zlimen & Jungers, Ltd.,      2860 Patton Road,
                 Roseville, MN 55113-1100
intp           +I.B.E.W. 292 Health Care Plan,     c/o Kutak Rock LLP,     60 South Sixth Street,    Suite 3400,
                 Minneapolis, MN 55402-4018
intp           +Viking Electric Supply, Inc.,    c/o Michael P. Coaty,      Heley, Duncan & Melander, PLLP,
                 8500 Normandale Lake Blvd.,    Suite 2110,     Minneapolis, MN 55437-3813
62106290        ACME ENTERPRISES, INC,    P.O.BOX 2217,     BURNSVILLE MN 55337-8817
62123669       +ACME Enterprises, Inc.,    14701 White Oak Drive,     Burnsville, MN 55337-4154
62106291       +ADVANCED CONCRETE SAWING INC,    1245 PIERCE BUTLER,      ST PAUL MN 55104-1452
62106292       +AERIAL PAINTING INC,    3461 KENT STREET,     UNIT 1203 S,    SHOREVIEW MN 55126-4023
62106442       +AERO SYSTEMS ENGINEERING,    358 E FILLMORE AVE,     ST PAUL MN 55107-1289
62106293       +ALARM PRODUCTS INC,    2350 W TERRITORIAL ROAD,     ST PAUL MN 55114-1602
62106294      #+ALL PHASE CONTRACTING, INC.,    ATTENTION: RON,      13957 LAKE DR. NE,
                 FOREST LAKE MN 55025-8609
62106295       +ALL STATE COMMUNICATIONS,    ATTN ACCOUNTING,     150 SECOND STREET SW P,     PERHAM MN 56573-1461
62106296       +ALLIANTGROUP, LP,    3009 POST OAK BOULEVARD,     SUITE 2000 H,     HOUSTON TX 77056-6536
62106297       +ALPHA VIDEO AND AUDIO INC AV,    7690 GOLDEN TRIANGLE DR E,      EDEN PRAIRIE MN 55344-3732
62106298        AMANO MCGANN, INC,    PO BOX 860273,    MINNEAPOLIS MN 55486-0273
62106456       +AMCON CONSTRUCTION CO LLC,    1715 YANKEE DOODLE ROAD,      SUITE 200,    EAGAN MN 55121-1698
62106299        AMERICAN TEST CENTER,    P. O. BOX 408,     RIVER FALLS WI 54022-0408
62106300        ANIXTER INC,    PO BOX 847428 - D,    DALLAS TX 75284-7428
62106256       +ANTHONY KACZOR,    1630 ADAMS ST NE - APT 1,     MINNEAPOLIS MN 55413-1400
62106301       +API SUPPLY INC,    624 ARTHUR STREET NE,     MINNEAPOLIS MN 55413-2636
62106251       +AUSTIN ERICKSON,    11330 98TH AVE N,    MAPLE GROVE MN 55369-3306
62106302       +B L ELECTRIC SUPPLY INC,    649 SMITH AVE SO,     SUITE 100,    ST PAUL MN 55107-2621
62106303       +BANKOE SYSTEMS, INC,    9401 JAMES AVE S,     SUITE 180,    MINNEAPOLIS MN 55431-2528
62106304        BELIMO AIRCONTROLS, INC,    P O BOX 347219,     PITTSBURGH PA 15251-4219
62106436       +BITUMINOUS ROADWAYS INC,    1520 COMMERCE DRIVE,     MENDOTA HEIGHTS MN 55120-1023
62106407       +BOLANDER CONSTRUCTION,    251 STARKEY ST,     BOX 7216,    ST PAUL MN 55107-1821
62106305        BORDER STATES ELECTRIC SUPPLY,     NW 7235,    P O BOX 1450,    MINNEAPOLIS MN 55485-7235
62106465       +BRENNAN CONSTRUCTION,    5275 EDINA INDUSTRIAL BLVD,      SUITE 201,    EDINA MN 55439-2916
62106268       +BRIAN PRICE,    2423 121ST CIRCLE NE,    BLAINE MN 55449-5589
62106271       +BRIAN ULRICH,    19530 FLAMINGO ST NW,    CEDAR MN 55011-9349
62106306       +BROTHERS FIRE PROTECTION CO,    9950 EAST HIGHWAY 10,      ELK RIVER MN 55330-6227
62106307        BROWN TRAFFIC PRODUCTS, INC.,    MOBOTREX 55558,     1090 WEST 55TH STREET D,
                 DAVENPORT IA 52806
62106308       +BUILDING SYSTEM SOLUTIONS, INC,     1250 EAST MOORE LAKE DR,     SUITE 230 F,
                 FRIDLEY MN 55432-5135
62123667       +Brian Price,    2423 121st Circle NE Unit B,     Blaine, MN 55449-5590
62123665       +C.F. Haglin & Sons, Inc.,    7500 Flying Cloud Drive,      Eden Prairie, MN 55344-3740
62106255       +CAROL JOHNSON,    115 BURNSVILLE PKWY - UNIT 104,     BURNSVILLE, MN 55337-7544
62106246        CATERPILLAR FINANCIAL SERVICES CORP,     P O BOX 730669,     DALLAS TX 75373-0669
62106446       +CATHEDRAL OF ST PAUL,    239 SELBY AVE,     ST PAUL MN 55102-1891
62106309        CEMSTONE PRODUCTS,    CEMSTONE PRODUCTS CO INC,     P O BOX 860606 M,
                 MINNEAPOLIS MN 55486-0606
62106282        CENTRAL PENSION FUND,    LOCAL 49 FRINGE FUNDS,     P O BOX 313,     MINNEAPOLIS MN 55440-0313
62106424       +CENTURY COLLEGE,    3300 CENTURY AVE N,     MAHTOMEDI MN 55110-1252
62106310        CENTURY FENCE COMPANY,    P.O. BOX 277,     FOREST LAKE MN 55025-0277
62106257       +CINDY KAUTZ,    7265 BRITTANY LANE,    INVER GROVE HTS MN 55076-2346
62106312       +CITY AUTO GLASS,    116 CONCORD EXCHANGE SO,     SOUTH ST PAUL MN 55075-2446
62106406       +CITY OF COLUMBIA HEIGHTS,    590 40TH AVENUE NE,     COLUMBIA HGTS MN 55421-3878
62106423        CITY OF COTTAGE GROVE,    8635 W POINT DOUGLAS RD,      COTTAGE GROVE MN 55016-3318
62106428      ++CITY OF FRIDLEY,    7071 University Ave NE,     Fridley, MN 55432-3111
               (address filed with court: CITY OF FRIDLEY,       6431 UNIVERSITY AVE NE,     FRIDLEY MN 55432)
62106414       +CITY OF GOLDEN VALLEY,    6701 W 23RD STREET,     P O BOX 9377,     MINNEAPOLIS MN 55440-9377
62106286       +CITY OF ROCHESTER MINNESOTA,    201 FOURTH STREET SE,      ROOM 204,    ROCHESTER MN 55904-3708
62106285        CITY OF ST PAUL,    15 KELLOGG BLVD WEST,     700 CITY HALL,    ST PAUL MN 55102
62106444       +CITY OF ST PAUL,    25 WEST 4TH STREET,     ST PAUL MN 55102-1692
62106463       +COMMERCIAL REAL ESTATE SERVICES,     85 E 7TH PLACE,     SUITE 200,    ST PAUL MN 55101-2143
62106313        COMMUNICATIONS INTEGRATORS I,    205 S. ALMA DR. - A,      ALLEN TX 75013-3674
62106431       +CRB CONSTRUCTION,    1251 NW BRIARCLIFF PARKWAY,     SUITE 500,     KANSAS CITY MO 64116-1795
62106314       +CRESCENT ELECTRIC SUPPLY,    P O BOX 500 E,     EAST DUBUQUE IL 61025-4418
62106315       +CROCUS HILL ELECTRIC CO,    886 JEFFERSON,     ST PAUL MN 55102-2802
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62106405        +CS MCCROSSAN CONSTRUCTION INC,     7865 JEFFERSON HWY,     MAPLE GROVE MN 55369-4900
62106316         CUMMINS NPOWER LLC,    NW 7686,    P O BOX 1450 M,    MINNEAPOLIS MN 55485-7686
62106317        +D.F. COUNTRYMAN CO,    2425 EAST 26TH STREET,     MINNEAPOLIS MN 55406-1255
62106318        +DAKOTA ELECTRIC,    4300 220TH ST WEST,     FARMINGTON MN 55024-9583
62106319         DAKOTA SUPPLY GROUP,    SDS 12-2389,    P O BOX 86 M,     MINNEAPOLIS MN 55486-2389
62106320        +DART PORTABLE STORAGE, INC,     P O BOX 64110,    ST PAUL MN 55164-0110
62106266        +DAVE A PETERSON,    383 GRAND AVE., #7,     ST. PAUL, MN 55102-2629
62106264        +DAVE LODGE,    8805 MILITARY ROAD,    WOODBURY MN 55129-9783
62106261        +DEAN LARSON,    9200 BRANDYWINE,    CORCORAN MN 55340-9562
62106321       ++DIRECT BORE INC,    BOX 236,    CIRCLE PINES MN 55014-0236
                (address filed with court: DIRECT BORE INC,       4175 LOVELL RD,    P O BOX 236,
                  CIRCLE PINES MN 55014)
62106322         DISTECH CONTROLS, INC,     DEPT CH 17296 P,    PALATINE IL 60055-7296
62106247         DITCH WITCH FINANCIAL SERVICES,     P O BOX 7167,    PASADENA CA 91109-7167
62106323        +DREAM SCAPES,    7087 20TH AVE S,    CENTERVILLE MN 55038-9737
62106440        +ECOLAB INC-EAGAN,    ATTN KELVIN SUNDEEN,     940 LONE OAK ROAD,    EAGAN MN 55121-2295
62106324         ECSI,    P O BOX 860531 M,     MINNEAPOLIS MN 55486-0531
62106325         EGAN COMPANY,    P O BOX 1150-27,     MINNEAPOLIS MN 55480-1150
62106326        +ELECTRIC MOTOR REPAIR INC EMR,     2010 NORTH 4TH ST,     MINNEAPOLIS MN 55411-2787
62106327        +ELECTRIC MOTOR SUPPLY CO,     4650 MAIN ST NE F,    FRIDLEY MN 55421-2131
62106328        +ELECTRO MECHANICAL CONTRACTING,     1519 CENTRAL AVE NE,     MINNEAPOLIS MN 55413-2282
62106329        +ENERGY SAVING DEVICES INC,     1751 EAST HIGHWAY 36,    MAPLEWOOD MN 55109-2108
62106409        +EUREKA CONSTRUCTION INC,     7865 JEFFERSON HWY,    SUITE 130,    MAPLE GROVE MN 55369-4900
62106239         FORD CREDIT,    P O BOX 790072,    ST LOUIS MO 63179-0072
62106330        +GOLDCOM INCORPORATED,    141 BRIDGEPOINT WAY S,     SOUTH ST PAUL MN 55075-2475
62106331        +GOODMANSON CONSTRUCTION,     2500 W COUNTY RD B,    SUITE 2A,    ROSEVILLE MN 55113-3900
62106332        +GOPHER STAGE LIGHTING,     4141 CEDAR AVE SO,    MINNEAPOLIS MN 55407-3432
62106333       ++GRAYBAR ELECTRIC COMPANY INC,     2300 E 25TH ST,    MINNEAPOLIS MN 55406-1249
                (address filed with court: GRAYBAR ELECTRIC COMPANY INC,        2300 E 25TH ST,
                  MINNEAPOLIS MN 55406)
62106334         GREEN LIGHTS RECYCLING, INC,     10040 DAVENPORT ST NE,     BLAINE MN 55449-4423
62106427        +HARTY MECHANICAL,    P O BOX 277,    1600 1ST AVE NE,     AUSTIN MN 55912-4502
62106464        +HASKELL,    P O BOX 45275,    JACKSONVILLE FL 32232-5275
62106441        +HAWKINS CHEMICAL,    3100 EAST HENNIPEN AVE,     MPLS MN 55413-2922
62106469         HB FULLER COMPANY VADNAIS,     P O BOX 64443,    ACCOUNTS PAYABLE,    ST PAUL MN 55164-0443
62106335         HD WHITE CAP CONST SUPPLY,     P O BOX 4852,    ORLANDO FL 32802-4852
62106437        +HEALTHPARTNERS RIVERSIDE CLINIC,     2220 RIVERSIDE AVE S,     ROBERT RESLER MAINT,
                  MINNEAPOLIS MN 55454-1321
62106336        +HEJNY RENTALS,    1829 WHITE BEAR AVENUE,     ST PAUL MN 55109-3798
62106337        +HH BUYING SELLING,    3236 CALIFORNIA ST NE,     SUITE 1,    MINNEAPOLIS MN 55418-1851
62106338         HILTI, INC,    P O BOX 11870,     NEWARK NJ 07101-8800
62106410        +HOFFMAN CONSTRUCTION CO,     123 HIGHWAY A,    BLACK RIVER FLS WI 54615-9209
62106339        +HONEYWELL INTERNATIONAL,     BUILDING SOLUTIONS,    12490 COLLECTIONS CTR D,
                  CHICAGO IL 60693-0124
62106281        +IBEW 292 FRINGE BENEFIT-LEA,     6900 WEDGWOOD RD N,    SUITE 425,    MAPLE GROVE MN 55311-3552
62106275        +IBEW LOCAL 110 401K,    1330 CONWAY STREET,     SUITE 130,    ST PAUL MN 55106-5856
62106274        +IBEW LOCAL 110 BENEFITS,     1330 CONWAY STREET,    SUITE 130,    ST PAUL MN 55106-5856
62106273        +IBEW LOCAL 110 HEALTH PLAN,     1330 CONWAY STREET,    SUITE 130,    ST PAUL MN 55106-5856
62106276        +IBEW LOCAL 110 RMFP,    1330 CONWAY STREET,     SUITE 130,    ST PAUL MN 55106-5856
62106278        +IBEW LOCAL 292,    312 CENTRAL AVENUE,    SUITE 292,    MINNEAPOLIS MN 55414-1087
62106340        +INTEGRATED FIRE AND SECURITY,     7180 NORTHLAND CIRCLE N,     SUITE 138 B,
                  BROOKLYN PARK MN 55428-1541
62106420        +ISD 191 BURNSVILLE PUBLIC SCHOOLS,     200 W BURNSVILLE PARKWAY,      BURNSVILLE MN 55337-2511
62106445        +ISD 256 RED WING PUBLIC SCHOOLS,     2451 EAGLE RIDGE DRIVE,     RED WING MN 55066-7452
62106419         ISD 271 BLOOMINGTON PUBLIC SCHOOLS,     BLOOMINGTON PUBLIC SCHOOLS - ISD 271,
                  1350 WEST 106TH STREET,     BLOOMINGTON MN 55431-4126
62106426        +ISD 625 ST PAUL PUBLIC SCHOOLS,     7500 OLSON MEMORIAL HIGHWAY,     SUITE 300,
                  GOLDEN VALLEY MN 55427-4888
62106459        +ISD 625 ST PAUL PUBLIC SCHOOLS,     ACCOUNTS PAYABLE,     1930 COMO AVE,    ST PAUL MN 55108-2716
62106421        +ISD 625 ST PAUL PUBLIC SCHOOLS,     360 COLBORNE ST,    ST PAUL MN 55102-3299
62106412        +ISD 831 FOREST LAKE PUBLIC SCHOOLS,     6100 NORTH 210TH STREET,     FOREST LAKE MN 55025-9617
62106415        +ISD 831 FOREST LAKE PUBLIC SCHOOLS,     3890 PHEASANT RIDGE DRIVE N E,      SUITE 180,
                  BLAINE MN 55449-6043
62106430         ISD 833 SOUTH WASH CO PUBLIC SCHOOLS,     8625 RENDOVA STREET NE,     P O BOX 158,
                  CIRCLE PINES MN 55014-0158
62106413        +ISD 916 NORTHEAST METRO PUBLIC SCHOOLS,      2540 COUNTY ROAD F EAST,
                  WHITE BEAR LAKE MN 55110-3935
62106341        +J J CONTRACTING,    573 SHOREVIEW PARK RD,     SHOREVIEW MN 55126-7014
62106455        +JAEGER CONSTRUCTION LLC,     2317 WATERS DRIVE,    MENDOTA HEIGHTS MN 55120-1163
62106250        +JAMIE DERLETH,    503 9TH AVE N,    SOUTH ST PAUL MN 55075-1610
62106267        +JEFF PLOSS,    666 W. MARIE,    MENDOTA HEIGHTS MN 55118-3734
62106342        +JH LARSON ELECTRICAL CO,     10200 51ST AVE N,    PLYMOUTH MN 55442-4505
62106248        +JOE BELTZ,    2028 ROSEWOOD STREET,    LINO LAKES MN 55038-2003
62106343         JOHNSON CONTROLS FIRE PROTECT,     DEPT. CH 10320,    PALATINE IL 60055-0320
62106254        +JORDAN ILLSLEY,    15061 DUNWOOD TRAIL,     APPLE VALLEY MN 55124-5896
62123668        +Jordan Illsley,    6123 130th Street West,     Apple Valley, MN 55124-8101
62106344        +KARGES-FAULCONBRIDGE,    670 COUNTY ROAD B WEST,     ROSEVILLE MN 55113-4527
62106345         KELE INC,    P O BOX 842545,    DALLAS TX 75284-2545
62106346         KEYTRACER SYSTEMS,    16-1833 COAST MERIDIAN,     PORT COQUITLAM BC V3C 6G5
62106402        +KLAMM MECHANICAL,    12409 CTY ROAD 11,     BURNSVILLE MN 55337-3195
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62106416        +KNUTSON CONSTRUCTION,    5985 BANDEL ROAD NW,     ROCHESTER MN 55901-8754
62106452        +KRAUS-ANDERSON MINNEAPOLIS,    525 S 8TH STREET,     MINNEAPOLIS MN 55404-1030
62106347        +LIFE SAFETY SYSTEMS, INC,    10351 JAMESTOWN ST NE,     SUITE 120,    BLAINE MN 55449-4248
62106348        +LIGHTWORKS,    1325 WINTER ST NE,    SUITE 109 ANNEX BLDG,     MPLS MN 55413-2765
62106270        +LISA SCHWARZ,    18860 PEINE AVE,    HASTINGS MN 55033-9662
62106279        +LOCAL UNION 343,    9 80TH STREET SE,    ROCHESTER MN 55904-8435
62106349        +LOCKHART AUTO,    14217 BLAINE AVENUE,    ROSEMOUNT MN 55068-5931
62123666        +LS Black Constructors,    1959 Sloan Place,    Suite 220,    St. Paul, MN 55117-2072
62106350        +LUMINAIRE ENVIRONMENTAL &,    TECHNOLOGIES INC,     P O BOX 47626,    PLYMOUTH MN 55447-0626
62106400        +LUNDA CONSTRUCTION,    P O BOX 669,    BLACK RIVER FALLS WI 54615-0669
62106351        +M.J. ELECTRIC LLC,    200 WEST FRANK PIPP DR,     P O BOX 686,    IRON MOUNTAIN MI 49801-0686
62106262        +MATTHEW LINDBERG,    14224 PLYMOUTH AVE,    BURNSVILLE MN 55337-5785
62106353        +MAVERICK CUTTING AND BREAKING,     807 BROADWAY ST NE,    SUITE 185 M,
                  MINNEAPOLIS MN 55413-3201
62106422        +MCGOUGH CONSTRUCTION,    2737 N FAIRVIEW AVE,     ST PAUL MN 55113-1372
62106462        +MCNAMARA CONTRACTING INC,    16700 CHIPPENDALE AVE W,     ROSEMOUNT MN 55068-1726
62106461        +MEISINGER CONSTRUCTION,    2117 WEST RIVER RD,     MINNEAPOLIS MN 55411-2260
62106354        +METAL FINISHERS INC,    2297 CO RD H,    MOUNDS VIEW MN 55112-1517
62106433        +METROPOLITAN MECHANICAL CONTRACTORS,     7450 FLYING CLOUD DRIVE,     EDEN PRAIRIE MN 55344-3582
62106425       #+MIDWEST CIVIL CONSTRUCTORS LLC,     100 S FULLER ST,    SUITE 130,    SHAKOPEE MN 55379-1352
62106355        +MIDWEST SIGN SCREEN SUPPLY,    45 MARYLAND AVE E,     ST PAUL MN 55117-4610
62106356        +MINNESOTA CURB GUTTER - AVR,     MINNESOTA CURB GUTTER,    14698 GALAXIE AVE,
                  APPLE VALLEY MN 55124-8574
62106284         MINNESOTA UNEMPLOYMENT INSURANCE PROGRAM,     FIRST NATIONAL BANK BUILDING,
                  332 MINNESOTA STREET,    SUITE E200,    ST PAUL MN 55101-1351
62106450        +MN DOT - ST PAUL,    395 JOHN IRELAND BLVD,    MS 715,    ST PAUL MN 55155-1800
62106434        +MNDOT- ST. PAUL,    6000 MINNEHAHA AVE SO,    ST PAUL MN 55111-4014
62106357        +MOBOTREX AKA BROWN TRAFFIC,    109 WEST 55TH STREET,     DAVENPORT IA 52806-2244
62106454        +MODERN HEATING AND AIR,    2318 FIRST STREET NE,     MINNEAPOLIS MN 55418-3494
62106358         MODSPACE,   12603 COLLECTIONS CENTER,     CHICAGO IL 60693-0126
62106280        +MPLS ELECTRIC IND RECEIVING AGENCY,     6900 WEDGWOOD RD N,     SUITE 425,
                  MAPLE GROVE MN 55311-3552
62106359        +MULCAHY CO INC,    2700 BLUE WATER RD,    SUITE 100,    EAGAN MN 55121-1429
62106418         MUNICIPAL BUILDING COMMISSION,     350 SOUTH 5TH STREET,    ROOM 105,
                  MINNEAPOLIS MN 55415-1319
62106253        +OLLI HAHO,    7975 EAGLE RIDGE ROAD,    CORCORAN MN 55340-9469
62106361         OXYGEN SERVICE COMPANY,    P O BOX 856670,    MINNEAPOLIS MN 55485-6670
62106396         P O BOX 856890,    MINNEAPOLIS MN 55485-6890
62106362         PANASONIC NORTH AMERICA,    P O BOX 730060,    HOUSTON TX 75373
62106457        +PARALLEL TECHNOLOGIES INC,    7667 EQUITABLE DR,     SUITE 201,    EDEN PRAIRIE MN 55344-4626
62106363        +PARALLEL TECHNOLOGIES INC,    7667 EQUITABLE DR,     SUITE 201 E,    EDEN PRAIRIE MN 55344-4626
62106364         PIONEER CRITICAL POWERTITAN E,     P O BOX 71490,    CHICAGO IL 60694-1490
62106366        +POVOLNY SPECIALTIES,    7350 COURTHOUSE BLVD,     INVER GROVE HTS MN 55077-3217
62106367        +PRO-TEC DESIGN INC,    5929 BAKER ROAD,    SUITE 400 M,    MINNETONKA MN 55345-5940
62106471        +PRO-TEC DESIGN INC,    5929 BAKER ROAD,    SUITE 400,    MINNETONKA MN 55345-5940
62106468        +PRO-TEC DESIGN INC,    2737 N FAIRVIEW AVE,    SUITE 400,    ST PAUL MN 55113-1307
62106245        +QBE AMERICAS INC (QBEA),    P O BOX 975,    SUN PRAIRIE WI 53590-0975
62106368        +QUALITY CUTTING AND CORING IN,     1471 91ST AVENUE NE,    BLAINE MN 55449-4395
62106466        +RAMSEY CO EMERGENCY COMM 911,     388 13TH STREET,    ST PAUL MN 55101-2454
62106449        +RAMSEY CO METRO SQUARE,    121 7TH PLACE E,    SUITE 2200,     ST PAUL MN 55101-2146
62106288        +RAMSEY COUNTY GOVERNMENT OFFICE,     METRO SQUARE,    121 SEVENTH PLACE E,
                  ST PAUL MN 55101-2148
62106241         RAMSEY COUNTY PROPERTY TAX SERVICES,     P O BOX 64097,    ST PAUL MN 55164-0097
62106369        +ROCKET CRANE SERVICE INC,    8401 - 54TH AVENUE NO,     NEW HOPE MN 55428-4567
62106258        +RODNEY KOWARSCH,    7222 167TH AVE,    FOREST LAKE MN 55025-8805
62106252        +RUSSELL GILBERG,    1454 CTY RD M,    RIVER FALLS WI 54022-5632
62106269        +RUSTY PULKKA,    4335 4TH ST NE,    COLOMBIA HGTS MN 55421-2715
62106272        +RYAN VOORHEES,    36 LILAR LANE,    FARMINGTON MN 55024-8416
62106371        +SAFETY SIGNS,    19784 KENRICK AVE,    LAKEVILLE MN 55044-7913
62106372        +SCHLOMKA VAC TRUCK SERVICE IN,     13540 - 193RD WAY E,    HASTINGS MN 55033-9313
62106451         SCHWICKERTS INC,    P O BOX 1179,    MANKATO MN 56002-1179
62106259        +SCOTT KRIEGER,    8205 WOOD DUCK TRAIL,    LINO LAKES MN 55014-2058
62106373        +SENVA, INC,    ATTN: ACCOUNTS REC,     9290 SW NIMBUS AVENUE,     BEAVERTON OR 97008-7112
62106249        +SHELDON CRABTREE,    5023 NOKOMIS AVE,    SOUTH MINNEAPOLIS MN 55417-1437
62106260        +SHELLIE KYLLO,    1742 DRAKE DR,    EAGAN MN 55122-2240
62106408        +SIEMENS BUILDING TECHNOLOGIES DIVISION,     5939 RICE CREEK PARKWAY,     SHOREVIEW MN 55126-5021
62106375         SIEMENS INDUSTRY INC,    CO CITIBANK -BLDG TECH,     P O BOX 2134,    CAROL STREAM IL 60132-2134
62106376        +SPORTSMANS,    12705 STATE 64 SW,    MOTLEY MN 56466-2500
62106439         ST PAUL REGIONAL WATER SERVICES,     1900 N RICE ST,    MAPLEWOOD MN 55113-6810
62106443        +ST PAUL TECHNICAL COLLEGE,    160 MAIN BLDG,    235 MARSHALL AVE,     ST PAUL MN 55102-1807
62134251         STANLEY CONVERGENT SECURITY SOLUTIONS,     B350 SUNLIGHT DRIVE,     FISHERS, IN 46037
62106438        +STATE OF MINNESOTA,    658 CEDAR ST,    301 CENTENNIAL BLDG,     ST PAUL MN 55155-0001
62106401         STATE OF MINNESOTA ADMIN DEPT,     09 ADMIN BLDG,    50 SHERBURNE AVE,     ST PAUL MN 55155-1299
62106377        +STERLING WIRE AND CABLE LLC,     1117 ALDRICH AVE N,    MINNEAPOLIS MN 55411-4204
62106265        +STEVE LUNDQUIST,    2001 W 83RD STREET,    BLOOMINGTON MN 55431-1701
62106378        +STROMBERG GROUP INC,    21963 O’CONNELL ROAD,     MARENGO IL 60152-2926
62106379         SUNBELT RENTALS INC,    P O BOX 409211,    ATLANTA GA 30384-9211
62106380        +SUPERIOR SOLUTIONS,    CASEY OLSEN,    5865 NEAL AVE N SUITE,     STILLWATER MN 55082-2177
62106381        +SVL SERVICE CORPORATION USE O,     4600 CHURCHILL STREET,    SHOREVIEW MN 55126-3230
62106432        +THOMAS AND SONS,    13925 NORTHDALE BLVD,    ROGERS MN 55374-2106
           Case 18-33363     Doc 23    Filed 12/28/18 Entered 12/28/18 23:49:15             Desc Imaged
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                               Form ID: mnbflclm            Total Noticed: 243


62106382        +TIERNEY BROTHERS INC,    1771 ENERGY PARK DRIVE,    SUITE 100 S,    ST PAUL MN 55108-2720
62106383        +TKI-TOM KRAEMER INC,    P O BOX 443,    COLD SPRING MN 56320-0443
62106384        +TOTAL ENERGY SYSTEMS LLC,    200 S WASHINGTON STREET,    SUITE 305 G,    GREEN BAY WI 54301-4200
62106385        +TOTAL TOOL SUPPLY INC,    315 PIERCE STREET,    P O BOX 4069,    ST PAUL MN 55104-0069
62106386         TRUCK COUNTRY AKA MIKES TRUCK,    28595 NETWORK PLACE,    CHICAGO IL 60673-1285
62106387        +TRUCK UTILITIES,    2370 ENGLISH STREET,    ST PAUL MN 55109-2098
62106388        +UNITED ELECTRIC CORPORATION E,    EESCO,    P BOX 802578,     CHICAGO IL 60680-2578
62106389         UNITED RENTALS-HT BRANCH 229,    NORTH AMERICA,    P O BOX 840514,    DALLAS TX 75284-0514
62106391        +VEHITECH FLEET SERVICE,    1743 WEST COUNTY ROAD C,    ROSEVILLE MN 55113-1319
62106392         VIKING ELECTRIC SUPPLY INC,    P O BOX 856832,    MINNEAPOLIS MN 55485-6832
62106393        +VTI SECURITY,    401 W TRAVELERS TRAIL,    BURNSVILLE MN 55337-2554
62106394        +WARNING LITES,    4700 LYNDALE AVE NO,    MINNEAPOLIS MN 55430-3638
62106429        +WASHINGTON COBUILDING SERVICES,    14949 - 62ND STREET N,     STILLWATER MN 55082-6132
62106404        +WATSON-FORSBERG,    6465 WAYZATA BLVD,    MINNEAPOLIS MN 55426-1722
62106244        +WESTERN SURETY COMPANY,    333 S WABASH AVE,    CHICAGO IL 60604-4107
62106397        +WILLIAM GAUSMAN,    4549 175TH AVE NW,    ANDOVER MN 55304-1721
62106242        +WILLIAM J LINDBERG FAMILY TRUST,     C/O ARLENE C LINDBERG,    1130 STRYKER AVENUE,
                  WEST ST PAUL MN 55118-2216
62106263        +WILLIAM LINDBERG,    14701 WHITE OAK DRIVE,    BURNSVILLE, MN 55337-4154
62106243        +WILLIAM P LINDBERG,    14701 WHITE OAK DRIVE,    BURNSVILLE MN 55337-4154
62106398         WINDY CITY WIRE,    29066 NETWORK PLACE,    CHICAGO IL 60673-1290
62106399        +ZIEGLER INC,   SDS 12-0436,    MINNEAPOLIS MN 55486-0001

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QJAHEDBACK.COM Dec 27 2018 03:43:00      John A. Hedback,    2855 Anthony Ln S,     Ste 201,
                 St Anthony, MN 55418-2637
62106289        E-mail/Text: michael.akins@accu-tech.com Dec 26 2018 22:44:31       ACCU-TECH,    P.O. BOX 840781,
                 DALLAS TX 75284-0781
62106311       +E-mail/Text: anita.stenson@cesimaging.com Dec 26 2018 22:45:08       CES IMAGING,
                 1701 JAMES CIRCLE NORTH,    BROOKLYN CENTER MN 55430-4511
62106428        E-mail/Text: korrie.johnson@fridleymn.gov Dec 26 2018 22:44:26       CITY OF FRIDLEY,
                 6431 UNIVERSITY AVE NE,    FRIDLEY MN 55432
62106417       +E-mail/Text: ub.finance@ci.minneapolis.mn.us Dec 26 2018 22:44:23        CITY OF MINNEAPOLIS,
                 325M CITY HALL,    350 SOUTH 5TH STREET,   MPLS MN 55415-1316
62106321        E-mail/Text: directboreinc@gmail.com Dec 26 2018 22:44:26       DIRECT BORE INC,     4175 LOVELL RD,
                 P O BOX 236,    CIRCLE PINES MN 55014
62106448       +E-mail/Text: david.heimark@graybar.com Dec 26 2018 22:44:44       GRAYBAR ELECTRIC,
                 308 STATE STREET,    ST PAUL MN 55107-1608
62106333        E-mail/Text: tricia.wolf@graybar.com Dec 26 2018 22:44:25       GRAYBAR ELECTRIC COMPANY INC,
                 2300 E 25TH ST,    MINNEAPOLIS MN 55406
62106287        EDI: IRS.COM Dec 27 2018 03:43:00      INTERNAL REVENUE SERVICE,    P O BOX 804521,
                 CINCINNATI OH 45280-4521
62106352       +E-mail/Text: AR@MARCONET.COM Dec 26 2018 22:45:19      MARCO,    4510 HEATHERWOOD RD S,
                 ST CLOUD MN 56301-9500
62106283       +EDI: MINNDEPREV.COM Dec 27 2018 03:43:00      MINNESOTA DEPARTMENT OF REVENUE,
                 600 ROBERT STREET NORTH,    ST PAUL MN 55146-1176
62106360        E-mail/Text: bankruptcy@nardinifire.com Dec 26 2018 22:45:05       NARDINI FIRE EQUIPMENT,
                 405 COUNTY ROAD E,    ST PAUL MN 55126-7093
62106238       +E-mail/Text: bankruptcy@oldnational.com Dec 26 2018 22:45:05       OLD NATIONAL BANK,
                 ONE MAIN STREET,    EVANSVILLE IN 47708-1464
62106365       +E-mail/Text: lheitkamp@pirtekmn.com Dec 26 2018 22:45:31       PIRTEK,    2161 UNIVERSITY AVENUE,
                 SAINT PAUL MN 55114-8739
62106370        E-mail/PDF: sluna@ur.com Dec 26 2018 22:54:36      RSC EQUIPMENT RENTAL,     P O BOX 840514,
                 DALLAS TX 75284-0514
62106374       +E-mail/Text: karen.zimbler@siemens.com Dec 26 2018 22:44:29       SIEMENS BUILDING TECHNOLOGIES,
                 1000 DEERFIELD PARKWAY,    BUFFALO GROVE IL 60089-4513
62106458       +E-mail/Text: tlbartok@stkate.edu Dec 26 2018 22:44:43      ST CATHERINE UNIVERSITY,
                 2004 RANDOLPH AVE,    ST PAUL MN 55105-1750
62106277       +E-mail/Text: kclum@stpaulfcu.org Dec 26 2018 22:45:08      ST PAUL FEDERAL CREDIT UNION,
                 1330 CONWAY STREET,    SUITE 200,   ST PAUL MN 55106-5856
62106240        EDI: TFSR.COM Dec 27 2018 03:43:00      TOYOTA FINANCIAL SERVICES,     P O BOX 5855,
                 CAROL STREAM IL 60197-5855
62106390       +E-mail/Text: mmingo@utilsplus.com Dec 26 2018 22:44:58      UTILITIES PLUS ENERGY SERVICE,
                 18940 YORK ST NW,    ELK RIVER MN 55330-2917
62106447       +E-mail/Text: PRTS-Taxation-Mailbox@co.washington.mn.us Dec 26 2018 22:45:30        WASHINGTON CO,
                 BUILDING SERVICES,    14949 - 62ND STREET N,   STILLWATER MN 55082-6132
62123664       +E-mail/Text: arsupport@wernerelec.com Dec 26 2018 22:45:37       Werner Electric,
                 7450 95th Street South,    Cottage Grove, MN 55016-3949
                                                                                               TOTAL: 22

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
intp              McGough Consruction Co., LLC
intp              St. Catherine University
intp              St. Paul Electric IBEW 110 Fringe Funds
intp              Werner Electric Ventures, L.L.C.
62106395          WERNER ELECTRIC SUPPLY CO
          Case 18-33363            Doc 23       Filed 12/28/18 Entered 12/28/18 23:49:15                         Desc Imaged
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                                      Form ID: mnbflclm                  Total Noticed: 243

aty*              +John A. Hedback,   2855 Anthony Ln S,    Ste 201,    St Anthony, MN 55418-2637
cr*               +Ford Motor Credit Company LLC,    c/o Stewart, Zlimen & Jungers, Ltd.,    2860 Patton Road,
                    Roseville, MN 55113-1100
62106467*         +COMMERCIAL REAL ESTATE SERVICES,    85 E 7TH PLACE,    SUITE 200,   ST PAUL MN 55101-2143
62106470*          HB FULLER COMPANY VADNAIS,    P O BOX 64443,    ACCOUNTS PAYABLE,   ST PAUL MN 55164-0443
62106435*          ISD 833 SOUTH WASH CO PUBLIC SCHOOLS,    8625 RENDOVA STREET NE,    P O BOX 158,
                    CIRCLE PINES MN 55014-0158
62106453*         +KRAUS-ANDERSON MINNEAPOLIS,    525 S 8TH STREET,    MINNEAPOLIS MN 55404-1030
62106472*         +THOMAS AND SONS,   13925 NORTHDALE BLVD,     ROGERS MN 55374-2106
62106403        ##+C F HAGLIN AND SONS INC,    3939 W 69TH STREET,    EDINA MN 55435-2001
62106411        ##+LS BLACK CONSTRUCTORS INC,    1959 SLOAN PLACE,    SUITE 140,   ST PAUL MN 55117-2070
62106460        ##+STANLEY SECURITY INTEGRATOR,    14670 CUMBERLAND RD,    NOBLESVILLE IN 46060-8708
                                                                                                  TOTALS: 5, * 7, ## 3

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 28, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 26, 2018 at the address(es) listed below:
              Andrew R. Shedlock    on behalf of Interested Party    I.B.E.W. 292 Health Care Plan
               andrew.shedlock@kutakrock.com, mary.flahavan@kutakrock.com
              Andrew R. Shedlock    on behalf of Interested Party    Electrical Workers Local No. 292 Defined
               Contribution and 401(k) Plan andrew.shedlock@kutakrock.com, mary.flahavan@kutakrock.com
              Andrew R. Shedlock    on behalf of Interested Party    Electrical Workers Local No. 292
               Supplemental Unemployment Benefit Plan andrew.shedlock@kutakrock.com,
               mary.flahavan@kutakrock.com
              Andrew R. Shedlock    on behalf of Interested Party    Electrical Workers Local No. 292 Pension
               Plan andrew.shedlock@kutakrock.com, mary.flahavan@kutakrock.com
              Andrew R. Shedlock    on behalf of Interested Party    Electrical Workers Local No. 292 Vacation
               and Holiday Plan andrew.shedlock@kutakrock.com, mary.flahavan@kutakrock.com
              Anthony R Battles    on behalf of Trustee John A. Hedback tony@arbattleslaw.com,
               cara@arbattleslaw.com
              Benjamin Gurstelle     on behalf of Debtor 1    Peoples Electric Co. Inc. bgurstelle@briggs.com,
               soneill@briggs.com
              Bradley J. Halberstadt    on behalf of Creditor    Ford Motor Credit Company LLC
               bankruptcy@szjlaw.com
              Bradley J. Halberstadt    on behalf of Interested Party    Ford Motor Credit Company LLC
               bankruptcy@szjlaw.com
              Daniel R. Haller    on behalf of Interested Party    St. Paul Electric IBEW 110 Fringe Funds
               dhaller@felhaber.com, dhanson@felhaber.com
              John A. Hedback    on behalf of Trustee John A. Hedback jhedback@ecf.epiqsystems.com,
               ladamson@hac-mnlaw.com
              John A. Hedback    jhedback@ecf.epiqsystems.com, ladamson@hac-mnlaw.com
              Joshua D. Christensen    on behalf of Interested Party    Anchor Bank, N.A., a division of Old
               National Bank, a national banking association josh.christensen@aj-law.com, mai.xiong@aj-law.com
              Mae B. van Lengerich    on behalf of Interested Party    St. Catherine University
               mvanlengerich@mmblawfirm.com, kgood@mmblawfirm.com
              Michael P Coaty    on behalf of Interested Party    Viking Electric Supply, Inc.
               mpcoaty@heleyduncan.com
              Mychal A Bruggeman    on behalf of Interested Party    Werner Electric Ventures, L.L.C.
               mbruggeman@tiedegrabarski.com, randreotti@tiedegrabarski.com;Ajakkola@tiedegrabarski.com
        Case 18-33363       Doc 23    Filed 12/28/18 Entered 12/28/18 23:49:15             Desc Imaged
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                              Form ID: mnbflclm            Total Noticed: 243


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Ryan Murphy     on behalf of Interested Party    McGough Consruction Co., LLC rmurphy@fredlaw.com,
               stimm@fredlaw.com;sstallings@fredlaw.com
              Samuel M. Andre    on behalf of Interested Party    McGough Consruction Co., LLC sandre@fredlaw.com,
               stimm@fredlaw.com;sstallings@fredlaw.com
              US Trustee   ustpregion12.mn.ecf@usdoj.gov
                                                                                              TOTAL: 19
